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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division
_________________________________________
                                          )
CONFLICT KINETICS, INC.                   )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )
DANIEL GOLDFUS and                        ) Civil Action No. 1:22-cv-00315
BAGIRA SYSTEMS, LTD.,                     )
BAGIRA SYSTEMS USA, LLC                   )
And the MINISTRY OF DEFENSE               )
(ISRAEL)                                  )
      Defendants.                         )
                                          )
________________________________________ )


                                    AMENDED COMPLAINT
       Plaintiff, Conflict Kinetics, Inc., (“CK”), by counsel and for its Amended Complaint

against the Defendants states as follows:

                                       NATURE OF CASE

       1.      This case arises out of Defendants’, Daniel Goldfus, the Ministry of Defense

(Israel), Bagira Systems, Ltd., and Bagira Systems USA, LLC, conspiracy, led by Defendant

Goldfus without authorization and in excess of authorization, to misappropriate trade secrets of

Plaintiff with intent to injure Plaintiff’s business; to interfere intentionally and maliciously with

Plaintiff’s contract and business expectancy, and to willfully and continuously breach Defendant

Goldfus’ fiduciary duties, for the gain and unjust enrichment of all defendants.

       2.      Defendants’ tortious conduct includes violation of the Virginia Uniform Trade

Secrets Act, Va. Code § 59.1-336 et seq., statutory business conspiracy, Va. Code §§ 18.2-499

and 18.2-500; common law conspiracy; tortious interference with a contract; breach of a



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fiduciary duty; unjust enrichment; and collecting business intelligence for unjust personal and

professional gain under the auspices of US/Israeli partnership treaties.

                                             PARTIES

       3.      Conflict Kinetics is a Virginia corporation with a principal place of business at

22977 Eaglewood Court, Suite 160, Sterling, Virginia 20166.

       4.      Conflict Kinetics is an award-winning, privately-owned business that has

provided highly specialized advanced Lethality and Survivability Training Technologies (LSTT) in

human performance optimization for our nation’s warfighters and has provided unique research and

development, test and evaluation services for universities, federal, state, and local governments,

and international governments entities for over 13 years.

       5.      Defendant Daniel Goldfus (“Goldfus”) is an individual who lives and works in

Israel and is currently living and working in the United States.

       6.      Goldfus has been employed by the Israeli Ministry of Defense (“MOD”) from

roughly 1995 through 2021. During the time period of the allegations in this Complaint, Goldfus

was acting within the scope of his employment with, and for the benefit of, the Ministry of

Defense. Goldfus is an employee and agent of the MOD acting in a commercial role.

       7.      In the alternative, during the time period of the allegations in this Complaint,

Goldfus was acting as a private citizen outside the scope of his employment with the MOD.

       8.      The Ministry of Defense is an Israeli government agency responsible for

defending, protecting, and securing Israel and its civilians through political, military, and social

means with its headquarters located in Israel.




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           9.    Defendant Bagira Systems, LTD. (“Bagira”) is an Israeli entity registered to do

business in the United States, with a principal place of business at 26 Hakishur, HOLON,

005886708 ISRAEL.

           10.   Bagira Systems USA, LLC is an alter ego of Defendant Bagira Systems, LTD.

that undertakes business within the United States. Bagira Systems USA is registered to do

business in the state of Delaware. At times pertinent to the claims in this Complaint, Bagira

Systems USA, LLC maintained a business address at 344001 Indian Fields Dt, Leesburg, VA

20176. Bagira Systems, LTD. and Bagira Systems USA, LLC are collectively referred to as

“Bagira” or “Bagira Systems”.

           11.   The court can take judicial notice that Bagira Systems USA, LLC identifies its

website as www. Bagirasys.com in its mandatory reporting to the US government through

SAM.gov. This is the same website identified for Bagira Systems, LTD. in their SAM.gov

listing.

           12.   Yaron Mizrachi is the principal of both Defendant Bagira Systems, LTD. and

Defendant Bagira Systems USA, LLC.

           13.   According to its website, Bagira “designs, develops, and operates simulators and

training systems, with the goal to enhance Mission Readiness.” Bagira is a direct competitor of

CK.

                                 JURISDICTION AND VENUE

           14.   This Court has subject matter jurisdiction pursuant to 28 U. S. C. § 1331 because

this case arises under 18 U. S. C. § 1030 et seq. and 28 U.S.C. § 1332(a) as there exists complete

diversity of citizenship between the Plaintiff and Defendants and the amount in controversy




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exceeds $75,000.00, exclusive of interest and costs. This Court has supplemental subject matter

jurisdiction over the state law and common law claims pursuant to 28 U. S. C. § 1367(a).

       15.     This court may exercise personal jurisdiction of Goldfus because he was

physically present in the jurisdiction at the time he secured confidential and proprietary

information from Plaintiff Conflict Kinetics, and has committed the alleged torts in the

Commonwealth of Virginia as alleged infra.

       16.     This court may exercise personal jurisdiction over Bagira because it is registered

to conduct business in the United States and maintained a business location in Virginia.

       17.     This court may exercise personal jurisdiction over MOD because Defendant

Goldfus was an employee of MOD and was acting in the course of his employment during his

interactions with Plaintiff including Goldfus’ visit to the Conflict Kinetics headquarters in

Sterling, Virginia.

       18.     Further, Virginia's long-arm statute grants the court authority to exercise personal

jurisdiction over non-residents, such as Bagira and the MOD, who directly, or through an agent,

transact any business within the Commonwealth, so long as the cause of action arises from the

non-resident's transaction of business. Va. Code § 8.01–328.1(A)(1).

       19.     Virginia's long-arm statute also grants the court authority to exercise personal

jurisdiction over non-residents who cause tortious injury by act or omission in Virginia. Va.

Code § 8.01–328.1(A)(3).

       20.     Jurisdiction is also supported by the Virginia Supreme Court holding stating that a

court may exercise specific personal jurisdiction over a non-resident defendant acting outside of

the forum when the defendant has intentionally directed his tortious conduct toward the forum

state, knowing that that conduct would cause harm to a forum resident. Calder v. Jones, 465 U.S.



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783, 104 S.Ct. 1482, 79 L.Ed.2d 804 (1984).

       21.     Jurisdiction over Bagira and the MOD is also consistent with Unspam Techs., Inc.

v. Chernuk, 716 F.3d 322, 329 (4th Cir. 2013), where the Court may impute constitutionally

sufficient contact with Virginia through the actions of the alleged co-conspirator, where Plaintiff

can make a plausible claim (1) that a conspiracy existed; (2) that the …defendants participated in

the conspiracy; and (3) that a co-conspirator's activities in furtherance of the conspiracy had

sufficient contacts with Virginia to subject that conspirator to jurisdiction in Virginia.

       22.     Venue is proper in this District pursuant to 28 U. S. C. § 1391 because each

Defendant is subject to personal jurisdiction in this District as Goldfus secured the intellectual

property through a six-hour demonstration, which detailed the depths of CK’s technology and

described specific trade secrets, including those trade secrets specifically requested by Defendant

Goldfus at the CK headquarters in Virginia and thereafter inappropriately shared, and guided

Bagira’s commercial developmental and production activity with that information gathered in

Virginia, in furtherance of Goldfus’, the MOD’s and Bagira’s interests contrary to those of

Conflict Kinetics.

       23.     Bagira Systems USA, LLC has a place of business in this District and as recently

as January 2022 has attended tradeshows promoting their goods.

                                              FACTS


       A. CONFLICT KINETICS’ PROTECTION OF INTELLECTUAL PROPERTY

       24.     At all times relevant to this Complaint, CK took, and continues to take, reasonable

steps to maintain the secrecy of its trade secrets, including restricting access to the information to

employees and agents of CK who need access to perform their functions and services for CK and




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to those parties, both in the U.S. and abroad, who have agreed to hold such information in

confidence.

          25.   Restrictions on access include, but are not limited to, using a password and dual

authentication systems to access information stored on CK computer systems, and requiring

individuals to execute confidentiality and non-disclosure agreements before viewing any CK

proprietary Lethality and Survivability Technology. CK also intentionally avoids all trade shows

or commercial events where the methodologies would be visible to third parties or the general

public.

          26.   Conflict Kinetics’ trade secret information is not generally known or readily

accessible by unauthorized individuals using proper means and this information would be of

substantial economic value to CK’s competitors if it became known to them.

          27.   The economic value from secrecy is derived by CK retaining exclusive

knowledge of its training techniques, integration of hardware systems, and the scientific

application of its training techniques to specific customer needs. With access to CK’s proprietary

trade secrets, a competitor could copy or reverse-engineer CK’s products and sell them in

competition with CK, such is the case in this matter.

          28.   Prior to discussion of or access to any physical aspects of CK’s

confidential/proprietary property, each individual or entity is required to execute a non-

disclosure/confidentiality agreement.




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       29.     CK introduces potential business partners to its product through a power point

presentation that is clearly marked proprietary/confidential information.         Further, once a

Gunfighter Gym is installed at a particular facility, access to the Gym is closely guarded.

                  B. CONFLICT KINETICS INTELLECTUAL PROPERTY

       30.      CK’s unique Gunfighter Gym and its methods and processes have been sought

after by its customers since the company’s organization in 2008.

       31.     CK’s Gunfighter Gym is the only small arms synthetic training system currently

possessing a U.S. Department of Defense (DoD) certified Operational Test and Evaluation

Independent Agency Research and training effects validation study. This DoD study

demonstrated CK's delivery of weapons skills and shooter lethality exceeding all other

simulation systems on the market, as well as live-fire training. CK's graduates are faster and

more lethal because CK's trade-secret-protected technology delivers superior synthetic small

arms training. CK's technology ensures an increase in warrior performance and lethality. Thus,

enhanced decision-making skills, decreased lost training time, and reduced costs while training

soldiers, Special Operation Forces (SOF), and Force-enablers in a multinational environment,

including maintaining the highest proficiency and relevancy in marksmanship and combat

gunfighting.

       32.     CK has been granted 5 (5) U.S. Patents in “Methods and Processes” of

LSTT’s elevated human performance in small arms simulation and has several Patents

pending.

       33.     Conflict Kinetics’ intellectual property that is not appropriate to be patented is

protected by CK as trade secrets.

       34.     Conflict Kinetics derives independent economic value from its trade secrets,



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which include but is not limited to, simulated training process, procedure, and methodology,

pricing information, and non-obvious, novel designs, patterns, and appearance that CK

developed over time and at great expense.

       35.     CK is currently delivering on six (6) U.S. DoD and Israeli Sole Source

contracts for these advanced Lethality and Survivability simulation Gunfighter Gym

“Methods and Process” technologies.

       C. CONFLICT KINETICS’ RELATIONSHIP WITH ISRAELI MINISTRY OF
                               DEFENSE (MOD)

       36.     As part of U.S. collaboration with Israel, on or about June 13, 2016, CK met with

members of the Prime Minister’s Office, (“PMO”) including Israeli Naval Forces unit Shayetet

13 (“S13”) and the Israeli Defense Forces (IDF) along with members of an advanced U.S.

Special Forces unit on a U.S. military base at Coronado Island, California to demonstrate CK’s

lethality and survivability technologies and human centric training simulation center and

methodology.

       37.     This demonstration was the foundation of a bridge between U.S. advanced special

operator Cognitive Dominance training and Israeli Navy SEAL’s desire to cross-unit train with

U.S. forces while diving deeper into the measurement and evolution of their Cognitive

Dominance programs.

       38.     CK’s Gunfighter Gym and its methods and processes were sought after by Israel

for its long reputation, data, validated, verified, and certified peer performance at this advanced

unit headquarters since 2012.

       39.     At the time of the initiation of discussions with the MOD, a non-

disclosure/confidentiality agreement was signed on behalf of the MOD advising that all

information imparted by Conflict Kinetics in their discussions, demonstrations, and


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communications was considered CK’s proprietary, confidential, and trade secret.

       40.     This initial meeting eventually culminated in a November 29, 2019, contract for

Conflict Kinetics to provide training and simulation services in Israel.

       41.     As part of the deliverable on this contract, Conflict Kinetics constructed the first

Gunfighter Gym in Israel in January 2020.

    D. GOLDFUS EMPLOYMENT WITH ISRAELI DEFENSE FORCES AND ACCESS
             TO CONFIDENTIAL AND PROPRIETARY INFORMATION.

       42.     Goldfus has been employed by the Israeli Defense Forces (IDF), under the

Ministry of Defense, in various roles since about 1995, including his position which made him

responsible for identifying expert military training services to be contracted by the IDF from

2019 through 2021.

       43.     In or about mid-2019, Goldfus, purportedly in his capacity as an employee and

agent of the MOD, reached out to Conflict Kinetics to arrange a visit to Conflict Kinetics

headquarters in Sterling, Virginia. The purpose of the visit was to learn about, and see a

demonstration of, the capabilities of the Gunfighter Gym. The purported purpose of the visit was

the possibility of a contract with Conflict Kinetics to provide the Gunfighter Gym to the IDF.

       44.     Upon information and belief, Goldfus had become aware of the existence of the

Gunfighter Gym through the November 2019 contract with the MOD/PMO and the ongoing

efforts of S13 to secure a contract on their own behalf with CK. Goldfus wanted to explore the

possibility of a contract on behalf of the IDF.

       45.     The November 2019 contract did not authorize Goldfus to have access to any CK

trade secrets, or for the IDF, or the MOD generally, to disclose CK’s trade secrets.




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        46.     Goldfus presented to the Conflict Kinetics headquarters in Sterling, Virginia on

 September 25, 2019, where he met with representatives of Conflict Kinetics. Goldfus reached out

 to CK’s employees in Virginia to set up this meeting.

        47.     This six-plus hour visit was dedicated to a discussion and hands on tactical

 demonstration of the lethality capabilities of the Gunfighter Gym and how that technology could

 assist with the training of the members of the IDF, outside of the PMO contract.

        48.     During the course of this visit, Conflict Kinetics utilized a power point

 presentation that discussed the various elements of the Gunfighter Gym. This presentation was

 clearly marked as “confidential and proprietary” information.

        49.     At the conclusion of the visit, Goldfus expressed significant enthusiasm for the

 technology and assured Conflict Kinetics that he would start the process to push through a

 contract for the IDF under his cognizance and outside of the PMO contract.

        50.     Subsequent to this initial visit to Conflict Kinetics, Goldfus was continuously

 promoting Conflicts Kinetics within the Ministry of Defense (MOD), stating he wanted CK to

 provide the highly specialized lethality and survivability simulation training services to the IDF.

        51.     In furtherance of his stated intent, he consistently and persistently requested

 additional confidential and proprietary trade secret information from Conflict Kinetics under the

 auspices of being part of a near-term U.S. Department Foreign Military Financing (FMF)

 procurement for the Israeli Defense Forces.

        52.     In March 2020, induced by Goldfus’s stated intent of pursuing a contract with

 Conflict Kinetics, Conflict Kinetics sent a Firm Fixed Price proposal to Goldfus for the training

 system and services for the IDF training at the NAHA base. CK relied on Goldfus’ statement that

 the IDF was in the process “to open a [FMF/FMS] file with the U.S.” CK was informed that the



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 FMF/FMS agreement was assigned to an IDF representative, was “in process” and was going to

 go through, would start in August 2020 1, and that an IDF administrator was assigned to the

 contract. On April 20, 2020, CK received an email from Ground Forces contracting command

 stating, “Please confirm that all the NSN's and data in the proposal are good to go and we

 can move forward.” CK provided confirmation that all the numbers and data were correct.


          53.     Conflict Kinetics provided the requested information to Goldfus in his fiduciary

 capacity as a member of the Israeli IDF (outside of the PMO) interested in procuring specialized

 lethality and survivability training services.

          54.     While holding himself out as a representative of the IDF pursuing a potential

 contract between CK and the MOD, Goldfus gained access to CK’s private training facilities,

 case studies, data, system demonstrations, methods, processes, engineering drawings,

 engineering partner information, confidential and proprietary information (collectively “trade

 secrets”), as well as, copyright and patented information of Plaintiff under the auspices of joint

 military collaboration and procurement for the IDF under the Foreign Military Funding (“FMF”)

 program run by the U.S. Department of State and implemented by the Department of Defense,

 Defense Security Cooperation Agency.

          55.     CK’s reveal of its trade secrets to Goldfus was specifically because of his

 relationship with the MOD and exclusively to provide information for the purpose of competing

 for Israeli Forces contracts.

          56.     On March 10, 2021, Goldfus and a contingent representing the MOD again

 arranged to visit the Conflict Kinetics headquarters in Virginia along with a visit to Camp




 1
     FMS stands for Foreign Military Sales.
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 LeJeune. For reasons not expressed to Conflict Kinetics, Goldfus changed his plans at the last

 minute and only appeared at Camp LeJeune during that visit, although the remaining members of

 his contingent carried through with a visit to the CK headquarters in Virginia to attend

 presentations related to the products of CK.

        57.     Immediately following this visit to Camp LeJeune, Goldfus stated in a published

 news article that “the simulations were the highlights of the [IDF’s] visit, specifically the Gun

 Fighter Gym…” In the same article, Goldfus also stated that “[t]he purpose of our visit was to

 learn about the simulators and leadership courses and how they are integrated into training

 exercises….”

        58.     At or about this time, CK learned that Goldfus had stopped the issuance of the

 S13 contract. At this time, Goldfus was working in his capacity as an agent of the MOD.

        59.     In the alternative, at the time Goldfus stopped the issuance of the S13 contract, he

 was working in his individual capacity for his personal interests.

              E. THE CONSPIRACY TO COMMIT ECONOMIC ESPIONAGE AND
                     MISAPPROPRIATE TRADE SECRETS WITH BAGIRA

        60.     In or around February 2020, unbeknownst to CK, Goldfus exceeded his role as

 liaison with the IDF, and became the lead technical advisor to Bagira providing CK trade secrets

 to Bagira and directing Bagira on how to use CK’s trade secrets learned and otherwise purloined

 by Goldfus, in order to copy and steal the Gunfighter Gym System from CK without worry of

 competition, funding, or scrutiny.

        61.     Beginning in February 2020, Goldfus directed to Erez Ben Shaanan, a Bagira

 employee, and Yaron Mizrachi, CEO of Bagira, along with an IDF officer identified as “LTC

 Yoav,” to collect confidential and proprietary trade secret information from CK. Goldfus and




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 Bagira systems acted in collaboration to willfully and maliciously injure Plaintiff and its

 business.

        62.     Goldfus sent LTC Yoav to CK facilities upwards of ten times to meet and collect

 dozens of pages of notes from CK representatives all purportedly to support the anticipated

 contract between CK and the MOD/IDF.

        63.     Before learning that Goldfus had stopped the S13 contract and before CK knew

 about Bagira’s work in concert with Goldfus and, potentially, the MOD to steal CK intellectual

 property, Goldfus convinced CK to allow a Bagira employee, Erez Ben Shannan, access to CK

 facilities and through text and conversation indicated strongly that he trusted Mr. Shannan and

 wanted him to head up the project for CK.

        64.     During this time period, Goldfus attempted to send Bagira’s CEO, Yaron

 Mizrachi, to see the CK facilities in Israel, but the base appropriately denied him entry.

        65.     In February 2020, after Goldfus coordinated Bagira’s efforts to gain access to

 CK’s confidential and trade secret information, CK’s Executive Vice President of Business

 Development, Alison Rubin, received the first threat from Bagira’s CEO, Yaron Mizrachi,

 stating, “I understand that your President [President of CK] is now in Israel….All the noise you

 are making now in the industry will not work out in your favor.”

        66.     Later, CEO Yaron Mizrachi stated that “Bagira has learned of CK’s contract

 details” and that “[i]t was brought to Bagira’s attention….contract details.” Those details

 included, but were not limited to names, dates, contract details, contract status, and other non-

 public details that were only available to those inside the Ministry of Defense (MOD). During

 this time, Mizrachi stated that “CK getting a contract with IDF in Israel without him is not going

 to happen.” He further stated he can stop any contract going to CK. Mizrachi closed his



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 statements with “So, what can we do together?” These threats were reported to two separate

 Israeli Generals and one Israeli Colonel.

         67.     During a conversation on March 4th, 2020, with a CK representative, Yaron

 Mizrachi, CEO of Bagira, discussed how filing a U.S. patent “has pros and cons” because “all

 the patents are on the net.” Mr. Mizrachi stated that because CK has filed U.S. Patents, he can

 see the patents on the training system and methodologies “to the last detail.”

         68.     In the same conversation, Mr. Mizrachi stated, “In the US they give patents very

 easy” and “I’m sure they didn’t write it here [in Israel] so I can do it, as is, in Israel.”

         69.     Mr. Mizrachi also said, “the patents are nice to have [they are] good for the

 marketing only. In the end you are exposed, and everyone knows what you do. And all the

 weapons including the inserts. I know about the inserts there. This is the core of CK.”

         70.     During this conversation, Mr. Mizrachi confirmed that Bagira was a year or two

 away from producing a similar system and indicated that Bagira was not competing with CK for

 the current contract. Mizrachi did make it clear to CK that CK could not secure MOD contracts

 without working with Bagira.

         71.     In September 2020, during a conversation with an employee of CK and Brian

 Stanley, CEO of CK, Bagira CEO Mizrachi stated “I can stop any contract you hope to get in

 Israel unless you go through me.” Mr. Stanley reported this event to Colonel Alan Madanes

 from the Israeli Embassy in the United States. All these threating statements by Bagira not only

 demonstrate that the company has unjust protection from MOD personnel, but more importantly,

 it establishes that Bagira had no such product at the time of their award, or at the time they

 obstructed other CK contracts with Israeli special forces units.




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         72.     In May 2021, 60 days after departing Camp Lejeune, Goldfus and Bagira released

 a commercial that contained CK’s trade secrets and proprietary information including CK’s

 intellectual property, terms, phrases, methods, processes, images, techniques, and designs.

 Goldfus repeatedly stated in the commercial “This [Bagira] system is one of a kind.” Elements of

 this commercial were being conceptually designed, resourced, budgeted, scripted, staffed,

 recorded, edited, and finalized for commercial distribution while Goldfus was on the US Marine

 Corps base. Goldfus was thus providing direct, real-time Lethality and Survivability information

 from the U.S. to an Israeli vendor. Producing such a video in a 60-day window indicates that

 Goldfus and Bagira were planning and executing this commercial prior to Goldfus arranging and

 conducting his trip to Camp Lejeune.

         73.     This film and the cooperative project between Goldfus and Bagira, indicate that

 Goldfus had already entered into or committed to a contract with Bagira to provide a training

 simulator at the time of his last visit to observe the CK intellectual property at Camp LeJeune in

 March 2021.

         74.     According to CEO of Bagira, Yaron Mizrachi, in 2021, Goldfus began the act of

 “Leading” Bagira to build the “Ultimate New Training Concept” to resolve Bagira’s lack of a

 competitive product. This product was an unauthorized direct copy of the CK system.

 Additionally, according to Mizrachi, Bagira “became aware of specific contract details” and then

 leveraged this unjustly acquired information to target all CK’s clients and remove CK from all

 Israeli contracts.

         75.     By reviewing the Goldfus/Bagira commercial and dissecting each section second

 by second, it is clear that Goldfus canceled the visit to CK headquarters for Camp Lejeune

 because he and Bagira had already successfully stolen the underlying Lethality Technology.



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 Goldfus now needed to understand how the Marine Corps. implements it at the Individual,

 Squad, Platoon, and Company levels. Before the theft, Goldfus continuously asked CK, “how

 can the Lethality and Readiness Program be delivered to 120 Soldiers in a single day?” Goldfus

 needed to spy on the Marine Corps. to see exactly how to use his “New Ultimate Training

 Concept.”

           76.   The public nature of the relationship between Goldfus, an agent of the MOD, and

 Bagira, demonstrates that Goldfus was acting with the knowledge and support of the MOD in his

 actions against the interests of CK and for the benefit of the Defendants.


                               F. BREACH OF FIDUCIARY DUTY

           77.   As noted above, Goldfus enticed Conflict Kinetics to provide more and more

 confidential and proprietary trade secret information as part of the public tender process in

 Israel.

           78.   Conflict Kinetics provided the information and trusted that Goldfus was

 acting in good faith as a government military officer, representative of the IDF, and an agent

 of the MOD.

           79.   In May 2021, Bagira publicly posted on LinkedIn that Bagira released “BIST”

 as the “new ultimate training concept” and that the training concept was “developed in close

 cooperation with IDF and was led by BG Goldfus.”

           80.   In May 2021, Goldfus also appeared in a public commercial promoting a

 Bagira product called “Infantry skills App (BIST)”. The Bagira commercial asserts that the

 system is “the most unique trainer in the world.” The BIST system is nearly identical to the

 CK simulation and training system, which is patented in the U.S. and contains trade secret

 information created and protected by CK, including but not limited to near identical names


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 of products, graphics on products, floor layout, training paths, objects, rifles, colors, shapes,

 abstract actions never seen in marksmanship/training systems other than at CK. Neither

 Bagira nor the IDF had ever conducted any small arms simulation human performance

 methodological training in the BIST prior to March-May of 2021, nor prior to engaging with

 CK. There was no iterative process to the Goldfus/Bagira “Ultimate Training Concept.” It

 was created from purloined CK trade secrets.

        81.     Again, the public nature of the relationship between Goldfus and Bagira

 supports that Goldfus was acting as an agent of MOD in his interactions with CK against the

 interests of CK and for the benefit of the Defendants.

        82.     In a commercial made by Goldfus for Bagira, there are at least eight (8)

 violations of CK’s trade secrets, patents, and trademarks that were presented and

 demonstrated to Goldfus over the two-year period from 2019 to May of 2021.

        83.     In a malicious coordinated effort, Goldfus and Yaron Mizrachi, CEO of Bagira,

 communicated with MOD and convinced the MOD to halt award of a CK’s FMF contract for

 nine (9) months, so Goldfus could assist Bagira with building a CK-like infringing system to

 replace the CK system. By replacing the U.S. built technology with an Israeli built infringing

 system, Goldfus and Bagira were able to leverage “Israeli-made” preferences in multiple

 procurements, thus undermining over four (4) years of dedicated contracting process undertaken

 by contracting personnel within S13.

        84.     In the normal course of business, CK provided Goldfus a confidential price

 proposal in order to receive the IDF contract.

        85.     When Bagira was marketing the copied training systems and methodologies to the

 Israeli government, they priced their infringing system $10,000 less than the price CK quoted.



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 CK’s proposal and quote were for a custom design and special installation with unique weapon

 requirement that Bagira could not have found on a public price list.

        86.     Further, at this time, Bagira did not actually have a working system yet, (therefore

 was quoting a system that it had not built yet) but remained $10,000.00 under the CK price. 2

        87.     Goldfus revealed Plaintiff’s confidential pricing to Bagira as another way to

 ensure that Bagira became the selected vendor of the MOD.

        88.     Goldfus, working in his capacity as an employee of the MOD, maliciously

 violated his fiduciary duties to the U.S. Government and CK by providing confidential and

 proprietary trade secret information of Plaintiff to Defendant Bagira and then awarding Bagira

 direct contracts with the IDF on a sole source, non-competitive basis, to build competing training

 systems and simulations based on CK’s confidential and proprietary trade secrets methodologies

 and process information.

        89.     In the alternative, if Goldfus was acting independent of the MOD, Goldfus

 maliciously violated his fiduciary duties to the Israel IDF, the U.S. Government, and CK by

 providing Plaintiff’s confidential and proprietary trade secret information to Defendant

 Bagira, and then awarding Bagira direct contracts with the IDF on a sole source, non-

 competitive basis, to build competing training systems and simulations based on CK’s

 confidential and proprietary trade secret methodologies and process information.

        90.     These sole source contracts are valued at greater than $10,000,000.00.



 2
   As evidenced by a March 4th, 2020, email wherein an employee of Bagira, known as “Roy”, in
 a conversation with a CK employee and Yaron Mizrachi, CEO of Bagira stated, “I am not sure
 there will be a tender, even if it is [a tender], it will take a year or two [before] Bagira can make
 these things.” He then went on to state that because “We [Bagira] are not competing and Goldfus
 had already did [sic] a presentation on this system, everyone is on board, even the simulation
 department wants it to go through Bagira. We want to go ahead.”

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                     G. TORTIOUS INTERFERENCE WITH A CONTRACT

        91.     Subsequent to the Goldfus 2019 visit to CK headquarters, CK was in the process

 of securing an FMF contract for training IDF personnel in CK’s circuit training approach with a

 delivery date of August 2020.

        92.     Goldfus played a part in the program because he was the key decision maker and

 the penultimate customer.

        93.     Each time CK met Goldfus and was prepared to deliver the system as contracted,

 Goldfus would change and/or increase the scope of the contract. These were deliberate acts in

 order to hinder CK and draw CK deeper into providing more and more information by claiming

 the “need of the IDF is growing” and therefore the contract will be bigger, and IDF needed more

 information.

        94.     At the same time that he required expedited delivery of the system, Goldfus also

 required use of a specific rifle (Tevor) for the training. Because of the purported expedited

 delivery requirement, Plaintiff was forced to outsource the modifications necessary to the Tevor

 rifle in order to meet the delivery schedule.

        95.     Plaintiff partnered with EF, a U.S. vendor, to manufacture the Tevor system based

 on the prototype requirements that CK developed for this contract.

        96.     Plaintiff and CEO, Brian Stanley, personally purchased a Tevor rifle then sent this

 Tevor rifle to EF to develop on and produce.

        97.     Goldfus intentionally created short delivery timelines in an effort to remove CK

 from consideration for the contract.




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         98.     As soon as EF completed the production of the modified Tevor rifles,

 unbeknownst to CK, Goldfus and Bagira immediately procured EF’s entire stock of modified

 Tevor rifle kits.

         99.     This procurement of Tevor rifles, directed by Goldfus, interfered with the contract

 CK executed with EF for delivery of the modified rifles.

         100.    This procurement deliberately disrupted CK’s ability to perform to the new

 delivery schedule Goldfus had imposed on CK.

         101.    Goldfus, acting in an individual capacity or as an agent of the MOD, knowingly

 and intentionally, disguised his actions as a benefit to the Israeli Defense forces, while in reality

 the only beneficiary was Bagira, who, working in concert with Goldfus, caused the IDF to

 impede the contracting process with CK and knowingly and without authorization took multiple

 of Plaintiff’s trade secrets through fraud, deception, and concealment.

         102.    Goldfus acting in an individual capacity or as an agent of the MOD, without

 authorization, copied, duplicated, transmitted, delivered, sent, mailed, communicated, and

 conveyed Plaintiff’s trade secrets to Bagira to the detriment of CK.

         103.    Goldfus, acting in an individual capacity or as an agent of the MOD possessed

 Plaintiff’s trade secrets, appropriated and obtained Plaintiff’s trade secrets, and converted them

 for Bagira’s use without authorization.

         104.    As described supra, Goldfus led and conspired with one or more other persons to

 commit the offense, including the MOD and Bagira Systems.

         105.    Bagira knowingly and intentionally misled the customer (IDF) that their actions

 would benefit the Israeli Defense Force while in reality they only are benefiting themselves from




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 a financial standpoint. Bagira knowingly and without authorization, took multiple of Plaintiff’s

 trade secrets through fraud, deception, and concealment.

        106.      Bagira, without authorization, copied, duplicated, altered, replicated, transmitted,

 delivered, sent, and communicated Plaintiff’s trade secrets to not only the IDF, but multiple other

 foreign governments through their commercials in which Goldfus was the onscreen star narrator.

        107.      Bagira, without authorization, received and possessed Plaintiff’s trade secrets

 knowing the same to have been stolen or appropriated, obtained, and converted without

 authorization.

        108.      Bagira conspired with one or more persons to commit the offense, including

 Goldfus and the MOD.

                            H. INTERFERENCE WITH S13 CONTRACT

        109.      Despite working toward a contract with S13 for several years, CK was advised in

April 2021 by the Department of Production and Procurement (DOPP) of the Ministry of Defense

(MOD), that the contemplated contract was cancelled without cause.

        110.      As of March 3, 2022, no system has been provided to S13 that meets their

detailed Special Forces Requirement. MOD cancelled CK’s contract without cause and without

an alternative that meets the requirement.

        111.      In the time that passed since the April 2021 cancellation, S13 commanders have

come and gone; however, their requirement and desire for CK’s Lethality and Readiness system is

very much active.

        112.      Bagira, who did not previously have a product comparable to the Gunfighter

Gym, was providing quotes for such a system to the MOD.

        113.      On July 27, 2021, an item was published on the Israeli website “News 13” entitled



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“A Peek at the IDF’s Innovative Simulator.” The item noted that the MOD had purchased

“Bagira’s training systems” from Bagira, with Brig. Gen. Goldfus appearing in the article and

representing that Bagira’s training systems was “one of a kind in the world”. This was a clear

attempt to mislead the IDF, the new Commanders at S13, and the Israeli Taxpayer.

          114.   Other similar articles published around that time had Goldfus explaining that

Bagira had “developed” this system, not “improved” the system.

          115.   The issue is that the S13 contract was supposed to be for the upgrade and

improvement of the legacy IDF simulation system produced by Cubic Corporation. Instead that

contract was used to purchase the “new” Bagira System, developed with CK’s trade secrets.

          116.   On August 8, 2021, counsel for CK wrote to the MOD and requested all

information and documents related to the contract between the MOD and Bagira regarding the

procurement of Bagira’s training system by the MOD. CK also requested that the MOD

immediately suspend any contract with Bagira relating to the training facility, pending a full

clarification of the factual details. If the contract had already been executed between the parties,

the MOD was asked to immediately inform CK.

          117.   The MOD acknowledged receipt of the letter but provided no information.

          118.   As the MOD ignored CK’s request for information, CK filed an administrative

appeal in Israel on August 25, 2021.

          119.   Concurrent with the appeal, CK also filed a Motion for an Interlocutory

Injunction and a Temporary Injunction seeking an instruction to the MOD not to sign any contract

or contract extension between the MOD and Bagira pending resolution of CK’s administrative

appeal.

          120.   This matter was heard on November 17, 2021 at which time counsel for the MOD



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informed that it was willing to provide the documentation related to the exemption from tender

related to Bagira along with substantial documentation related to that decision to CK. Based on

that representation, the Court dismissed CK’s petition. 3

           121.   The administrative matter before the Israeli court in no way concerned the

allegations of theft of trade secrets at the heart of this claim.


                                              COUNT I
                          Violation of Virginia Uniform Trade Secrets Act
                                     Va. Code § 59.1-336 et seq.
                                        As to All Defendants

           122.   CK incorporates the allegations of Paragraphs 1 through 121 as if fully restated

 herein.

           123.   CK’s confidential and proprietary information, as described above, are trade

 secrets within the meaning of Va. Code § 59.1-336.

           124.   At all times relevant to this Complaint, CK took, and continues to take, not only

 reasonable, but exhaustive and costly measures to safeguard the confidential and secret nature of

 its trade secrets, for which independent economic value is derived from not being generally

 known or readily accessible by unauthorized individuals using proper means, and which trade

 secrets would be of substantial economic value to its competitors if known to those competitors.

           125.   By engaging in the actions described herein, Defendants intentionally, willfully,

 and maliciously acquired, disclosed, and used CK’s trade secrets through improper means, or

 with knowledge or reason to know whether the trade secrets were acquired by improper means,

 in violation of Va. Code § 59.1-336 et seq.




 3
   The Motion for Interlocutory Injunction was voluntarily withdrawn by CK upon receipt of
 information related to Bagira’s exemption from tender.
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           126.   CK has been damaged by Defendants’ intentional, willful, and malicious

 misappropriation of CK’s trade secrets, through the unauthorized and wrongful conduct

 described above, and is therefore entitled to the relief provided by Va. Code §§ 59.1-338 and

 338.1, including actual damages in an amount to be proven at trial but in excess of two million

 dollars ($2,000,000.00), punitive damages of two times CK’s actual damages (limited by statute

 to $350,000), costs, and reasonable attorneys’ fees.

                                            COUNT II
                                       Business Conspiracy
                                 Va. Code §§ 18.2-499 and 18.2-500
                                       As to All Defendants

           127.   CK incorporates the allegations of Paragraphs 1 through 126 as if fully restated

 herein.

           128.   Defendants conspired, procured, directed, participated in, caused, and otherwise

 engaged in the actions described above.

           129.   Defendants comprise two or more persons who combined, led, associated, agreed,

 mutually undertook, or acted in concert together within the meaning of Va. Code § 18.2-499.

           130.   Defendants acted intentionally, willfully, and maliciously to injure CK in its

 reputation, trade, business, or profession in total disregard for the rights of CK.

           131.   CK has been damaged by Defendants’ unauthorized and wrongful conduct, as

 described above, and is therefore entitled to the relief provided by Va. Code §§ 18.2-499(A) and

 18.2-500, including actual damages in an amount to be proven at trial but in excess of two

 million dollars ($2,000,000.00), punitive damages of three times CK’s actual damages up to the

 statutory maximum, costs, and reasonable attorneys’ fees.




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                                            COUNT III
                                      Common Law Conspiracy
                                        As to All Defendants

           132.   CK incorporates the allegations of Paragraphs 1 through 131 as if fully restated

 herein.

           133.   Defendants conspired, procured, directed, participated in, caused, and otherwise

 engaged in the actions described in Count II, above.

           134.   Defendants comprise two or more persons who combined to accomplish the

 unlawful purposes described above by concerted action.

           135.   Defendants acted intentionally, willfully, and maliciously to injure CK in its

 reputation, trade, business, or profession in total disregard for the rights of CK.

           136.   CK has been damaged by Defendants’ unauthorized and wrongful conduct, as

 described above, and is therefore entitled to actual damages in an amount to be proven at trial but

 in excess of two million dollars ($2,000,000.00) and punitive damages.

                                            COUNT IV
                               Tortious Interference with a Contract
                                           S13 Contract
                                       As to All Defendants

           137. CK incorporates the allegations of Paragraphs 1 through 136 as if fully restated

 herein.

           138. CK was to be awarded an S13 Sole Source FMF Contract having successfully

 provided S13 several years of demonstrations, peer training data, U.S. certifications, U.S.

 accreditations, U.S. verifications, live-fire transfer study data, qualification data, patent

 information, and U.S. and Israeli Sole Source contract justification.

           139. Goldfus became aware of the contract and intentionally, unjustly, and in

 furtherance of the conspiracy among the Defendants, demanded postponement of the contract for


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 nine (9) months while he [Goldfus] could have time to lead Bagira to copy the designs, images,

 drills, methods, and processes of CK for the financial gain and interests of Goldfus, Bagira and

 the MOD.

            140. CK has been damaged by Defendants’ intentional and unjust actions to cause

 interference with contracts of CK as described above, incurring actual damages in an amount to

 be proven at trial.


                                            COUNT V
                              Common Law Breach of Fiduciary Duty
                                As to Defendant Goldfus and MOD

           141.   CK incorporates the allegations of Paragraphs 1 through 140 as if fully restated

 herein.

           142.   Defendant Goldfus in his capacity as a member of the IDF, an agent of the MOD,

 and customer of CK entrusted with the trade secrets of CK, was acting as a fiduciary to CK and

 owed CK the duties of care, loyalty, and candor on behalf of both himself and the MOD.

           143.   Defendants Goldfus and the MOD intentionally and willfully breached each of the

 fiduciary duties owed to CK in total disregard for the rights and business of CK.

           144.   CK has been damaged by Defendants’ breach of each of the fiduciary duties as

 described above and CK is entitled to actual and compensatory damages to be proven at trial, and

 punitive damages of $350,000.

                                         COUNT VI
                                 Common Law Unjust Enrichment
                                     As to All Defendants

           145.   CK incorporates the allegations of Paragraphs 1 through 144 as if fully restated

  herein.




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        146.    Defendants received substantial financial and reputational benefit at CK’s direct

  and indirect expense.

        147.    Through their intentional, willful, unjust, unlawful, and combined efforts as

  described above, Defendants have received more than $10,000,000.00 in international contracts,

  including but not limited to the MOD contracts.

        148.    The surreptitious and unjust methods employed to willfully injure CK create

  ample circumstances where it would be unjust for Defendants to retain the benefit received

  without compensation to CK.

        149.    Bagira was unjustly enriched by greater than $10 million of CK funded research

  and development information.

        150.    The potential financial benefit to MOD and Goldfus is undetermined at this time.

                                     PRAYER FOR RELIEF

        WHEREFORE, Conflict Kinetics respectfully requests that this Court enter judgment in

 its favor and against each of the Defendants and prays that this Court:

        1)      Award damages in an amount to be proven at trial but in excess of two million

 dollars ($2,000,000.00);

        2)      Award punitive damages;

        3)      Award the costs of this action and reasonable attorneys’ fees and expenses;

        4)      Award pre-judgment and post-judgment interest;

        5)      Grant such other and further relief as the Court should deem just.

        6)      Enjoin all Bagira sales within the US and US territories.

        7)      Return to CK ownership and possession of any CK code, images, graphics and

 related systems currently in possession of any Defendant.



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                                                JURY DEMAND

           Conflict Kinetics hereby demands a trial by jury on all issues for which a trial by jury may

 be had.



           Dated: May 16, 2022                           Respectfully submitted,
                                                         Conflict Kinetics Corporation
                                                         By Counsel

                                                         _____________________________
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